    Case 2:07-md-01873-KDE-MBN Document 14449 Filed 06/18/10 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                                                MDL No. 1873
FORMALDEHYDE
PRODUCTS LIABILITY LITIGATION                                                     SECTION N(5)

                                                                        JUDGE ENGELHARDT

THIS DOCUMENT RELATES TO
Silas, et al v Gulf Stream Coach, Inc., et al
Case No. 2:10-cv-476
______________________________________________________________________________

        SUPPLEMENTAL AND AMENDING COMPLAINT FOR DAMAGES
______________________________________________________________________________

       NOW INTO COURT, come Plaintiffs in the above captioned matter who, through

undersigned counsel, respectfully reiterate and re-aver all of the allegations, claims and prayers

for relief contained in their Complaint for Damages filed on their behalf in the Southern District

of Mississippi on December 23, 2009. The case transferred to this Court on February 23, 2010

(Original Docket Number 2:09-cv-265). Plaintiffs respectfully move this Honorable Court for

leave to supplement and amend the operative complaint pursuant to Fed. Rules Civ. Proc. Rule

15 which states “[t]he court should freely give leave when justice so requires”, and Pursuant to

Fed Rules Civ Proc. 20 and 21.

       1.      This First Supplemental and Amending Complaint for Damages adds the

following Named Plaintiffs: Catherine Mayes, James W. Mayes and Ella M. Mills (hereinafter

referred to as “Newly Added Plaintiffs”), in the above captioned matter.

       2.      Consistent with the above, Plaintiffs request that Newly Added Plaintiffs be

               added

to Exhibit “A” listing of Named Plaintiffs, which is attached hereto.
   Case 2:07-md-01873-KDE-MBN Document 14449 Filed 06/18/10 Page 2 of 3




       3.      Upon information and belief, the Newly Added Plaintiffs resided in the same type

of emergency housing unit manufactured by Gulf Stream Coach, Inc., as the existing plaintiffs.

       4.      Newly added Plaintiffs have also been matched to Defendant Contractor

Bechtel and/or CH2M Hill as indicated in Exhibit “A”.

       5.      Newly Added Plaintiffs adopt all of the allegations, claims and prayers for relief

contained in the Complaint for Damages filed with the Southern District of Mississippi Southern

Division on December 23, 2009 (Civil Action No. 2:09-cv-265) which has since transferred via

electronic file certified to this court on February 23, 2010, and been assigned case number 2:10-

cv-476.

       6.      The Plaintiffs (hereinafter, “Named Plaintiffs”), who are all named in the annexed

listing of all Named Plaintiffs (attached hereto as “Exhibit A”), respectfully represents through

undersigned counsel that they be added to original Complaint.

       Respectfully submitted, this the 28th day of May, 2010.


                                                     By:      s/Edward Gibson
                                                             EDWARD GIBSON, ESQ.




                                                 2
    Case 2:07-md-01873-KDE-MBN Document 14449 Filed 06/18/10 Page 3 of 3




OF COUNSEL:

John Hawkins, Esq., MS Bar No. 9556
Edward Gibson, Esq., MS Bar No. 100640
Rose M. Hurder, Esq., MS Bar No. 103040
HAWKINS, STRACENER & GIBSON, PLLC.
153 Main Street
Bay St. Louis, MS 39520
Ph. (228) 469-0785; Fx. (228) 467-4212
rose@hsglawfirm.net
egibson@hsglawfirm.net



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by firs-class mail to all counsel of record who are non-

CM/ECF participants.


                                                                s/Edward Gibson
                                                              EDWARD GIBSON, ESQ.




                                                 3
